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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 ISMAEL HERNANDEZ PADILLA,                                Case No.: 2:23-cv-02017-APG-DJA

 4          Plaintiff                                        Order Accepting Report and
                                                         Recommendation and Dismissing Case
 5 v.
                                                                        [ECF No. 6]
 6 DEPARTMENT OF JUSTICE, et al.,

 7          Defendants

 8         On June 25, 2024, Magistrate Judge Albregts recommended that I dismiss plaintiff Ismael

 9 Padilla’s complaint without prejudice because Padilla did not pay the filing fee or file a complete

10 application to proceed in forma pauperis. ECF No. 6. Padilla did not object. Thus, I am not

11 obligated to conduct a de novo review of the report and recommendation. 28 U.S.C. § 636(b)(1)

12 (requiring district courts to “make a de novo determination of those portions of the report or

13 specified proposed findings to which objection is made”); United States v. Reyna-Tapia, 328

14 F.3d 1114, 1121 (9th Cir. 2003) (en banc) (“the district judge must review the magistrate judge’s

15 findings and recommendations de novo if objection is made, but not otherwise” (emphasis in

16 original)).

17         I THEREFORE ORDER that Magistrate Judge Albregts’ report and recommendation

18 (ECF No. 6) is accepted, and plaintiff Ismael Padilla’s complaint (ECF No. 1-1) is dismissed

19 without prejudice. The clerk of court is instructed to close this case.

20         DATED this 16th day of July, 2024.

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22
                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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